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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              Case No.:

 CARL W. ADAMS,

                Plaintiff,

        v.

 UNITED STATES OF AMERICA,

                Defendant.
                                                /

                                            COMPLAINT

        1.      This is a civil action seeking money damages against Defendant UNITED STATES

 OF AMERICA, pursuant to the Federal Tort Claims Act (FTCA), 28 U.S.C. § 2671 et seq. The

 United States District Court for the Southern District of Florida has jurisdiction of this action under

 28 U.S.C. § 1331 and 28 U.S.C. § 1346.

        2.      Plaintiff CARL W. ADAMS has fully complied with all conditions precedent to

 bringing this action imposed by the Federal Tort Claims Act (FTCA), 28 U.S.C. § 2671 et seq., and

 28 U.S.C. § 1346(b), and 28 U.S.C. § 2401(b), including the exhaustion of administrative remedies

 contained in 28 U.S.C. § 2675(a). Plaintiff's notice of claim was sent by certified mail, return

 receipt, on September 29, 2016. Standard Form 95 attached as Exhibit 1. There has been no

 administrative denial of the Plaintiff’s claim by the United States Department of Health and Human

 Services, and more than six-months has elapsed. Taumby v. U.S., 919 F.2d 69, 70 (8th Cir. 1990)

 (“[T]there is no time limit for the filing of an FTCA action when an administrative claim is deemed

 to be denied under 28 U.S.C. § 2675(a) (1988) by virtue of an agency's failure to finally dispose of

 the claim within six months”); McCallister v. U.S. By and Through U.S. Dept. of Agriculture,
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 Farmers Home Admin., 925 F.2d 841, 843 (5th Cir.1991) (same); Pascale v. U.S., 998 F.2d 186, 193

 (3rd Cir.1993) (same); Lehman v. U.S., 154 F.3d 1010, 1015 (9th Cir.1998) (same).

                                               PARTIES

         3.      Plaintiff CARL W. ADAMS [hereinafter Plaintiff or Plaintiff ADAMS] is a citizen

 and resident of Indian River County, and the Southern District of Florida.

         4.      Defendant UNITED STATES OF AMERICA through its agency, the United States

 Department of Health and Human Services, acted through the Treasure Coast Community Health

 Center, a FTCA Deemed Facility. The Treasure Coast Community Health Center is a Health Center

 Program grantee under 42 U.S.C. 254b, and a deemed Public Health Service employee under 42

 U.S.C. 233(g)-(n), and acted by and through its agents, employees and servants, including John

 Kestranek, D.D.S.

         5.      Plaintiff has also complied with the provisions of Florida Statute §766.106 and all

 conditions precedent to the filing of this action. Specifically, Plaintiff has provided a written Notice

 of Intent to Initiate a Medical Negligence Action to Treasure Coast Community Health, Inc., a FTCA

 Deemed Facility, c/o Vicki Soule, as registered agent, 2182 Ponce De Leon Circle, Vero Beach, FL

 32960, by certified mail, return receipt requested, and regular U.S. Mail on September 22, 2016.

 Such notice was received September 26, 2016.

                                                FACTS

         6.      On August 4, 2016, Plaintiff presented to the Treasure Coast Community Health

 Center located in Indian River County, Florida, for dental care, treatment, and evaluation of a molar

 in the lower left posterior quadrant.

         7.      Plaintiff was seen by John Kestranek, D.D.S., and provided a medical history of


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 allergies, including allergic reaction to aspirin and Aleve, resulting in hives.

           8.    Both aspirin and Aleve are non-steroidal anti-inflammatory drugs (NSAID).

           9.    John Kestranek, D.D.S., negligently provided Plaintiff with a prescription for

 Ibuprofen, a non-steroidal anti-inflammatory drug (NSAID).

           10.   Plaintiff filled the prescription on August 5, 2016, and suffered a severe allergic

 reaction.

           11.   Plaintiff was seen in the emergency department at Sebastian River Medical Center

 on August 5, 2016 and given IV Benadryl. Plaintiff acutely deteriorated and was intubated.

           12.   Plaintiff was admitted to the intensive care unit (ICU) and discharged home on

 August 7, 2016 with instructions not to take any further non-steroidal anti-inflammatories.

                                       CAUSES OF ACTION

                              COUNT I
  FEDERAL TORT CLAIMS ACT (FTCA) AGAINST UNITED STATES OF AMERICA

 For his cause of action against Defendant UNITED STATES OF AMERICA in Count I, Plaintiff

 states:

           13.   Plaintiff realleges and adopts, as if fully set forth in Count I, the allegations of

 paragraphs 1 through 12.

           14.   The Treasure Coast Community Health Center and John Kestranek, D.D.S., owed a

 duty to the Plaintiff to exercise reasonable care in the treatment of Plaintiff's dental needs.

           15.   The care and treatment provided to Plaintiff was negligent and fell below the

 prevailing professional standard of care in that Plaintiff provided a medical history of allergies,

 including allergic reaction to aspirin and Aleve (resulting in hives), but was provided a prescription



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 for Ibuprofen, a non-steroidal anti-inflammatory drug. Based upon the foregoing, the Treasure Coast

 Community Health Center and John Kestranek, D.D.S., failed to prescribe an appropriate medication

 to Plaintiff and failed to protect Plaintiff from serious physical harm.

         16.     As a proximate result of the foregoing, Plaintiff suffered bodily injury and resulting

 pain and suffering, disability, disfigurement, mental anguish, loss of capacity for the enjoyment of

 life, expense of hospitalization, medical and nursing care and treatment, loss of earnings, and

 aggravation of a previously existing condition. The losses are either permanent or continuing and

 Plaintiff will suffer the losses in the future.

         WHEREFORE Plaintiff prays for:

                 i.      Judgment for compensatory damages of $50,000,000;

                 ii.     Costs, fees, and other expenses pursuant to 28 U.S.C. § 2412; and

                 iii.    Such other relief as this Honorable Court may deem just and appropriate.

         DATED this       9th    day of May, 2017.

                                   By:    s/. Hugh L. Koerner
                                          Hugh L. Koerner
                                          Florida Bar No.: 716952
                                          Email: hlklaw@hughkoerner.com
                                          Hugh L. Koerner, P.A.
                                          Sheridan Executive Centre
                                          3475 Sheridan Street, Suite 208
                                          Hollywood, FL 33021
                                          Telephone: (954) 522-1235
                                          Facsimile: (954) 522-1176
                                          Attorney for Plaintiff Carl W. Adams




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                               CERTIFICATE OF GOOD FAITH

        I, Hugh L. Koerner, as attorney for the Plaintiff herein, hereby state that a reasonable

 investigation of the incident herein complained of has given rise to a good faith belief that grounds

 exist for this action against the United States of America, based on the conduct of Treasure Coast

 Community Health Center and John Kestranek, D.D.S.

                                               s/. Hugh L. Koerner
                                               Hugh L. Koerner




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